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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                               Plaintiffs,
                                                                   No. 24-mc-00353-LJL
v.

RUDOLPH W. GIULIANI,

                               Defendant.



       EX PARTE MOTION FOR LEAVE TO SERVE ENFORCEMENT MOTION
                   PURSUANT TO CPLR §§ 5225 AND 5228

        PLEASE TAKE NOTICE, that Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”),

pursuant to New York Civil Practice Law and Rules (“CPLR”) §§ 5225, 5228, and 5240, Federal

Rule of Civil Procedura 69, and upon the memorandum in support of this motion, move this Court

for entry of the proposed order granting leave to serve Plaintiffs’ Motion to Enforce Judgment and

supporting papers (ECF Nos. 8–11) via certified mail, return receipt requested, consistent with

CPLR §§ 5225 and 5228, and setting a schedule for Defendant’s opposition to the same.

                                             Respectfully submitted,

     Dated: September 4, 2024
           New York, New York                s/ Aaron E. Nathan

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